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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

THE CONNOR GROUP d/b/a                :
SLOAN SQUARE APTS.                    :
                                      :
      Plaintiff,                      :
                                      :
v.                                    :       Civil Action No.
                                      :       1:14-CV-00194-RWS-JCF
JESSICA ANDRUS,                       :
                                      :
      Defendant                       :

         ORDER AND FINAL REPORT AND RECOMMENDATION

      Defendant Jessica Andrus, proceeding pro se, seeks leave to remove to this

court a dispossessory action filed by Plaintiff in the Magistrate Court of DeKalb

County (see Doc. 1-1) without prepayment of fees or security pursuant to 28

U.S.C. ' 1915(a). After consideration of Defendant’s Affidavit to Proceed in

District Court Without Prepaying Fees or Costs (Doc. 1), the Court GRANTS

Defendant’s request to proceed in forma pauperis for the limited purpose of

determining whether this action has been properly removed to this Court. For the

reasons discussed below, the undersigned finds that this Court lacks subject matter

jurisdiction over this action, and therefore, it is RECOMMENDED that the case

be REMANDED to the Magistrate Court of DeKalb County.



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                                        Discussion

      “Except as otherwise expressly provided by Act of Congress, any civil

action brought in a State court of which the district courts of the United States have

original jurisdiction, may be removed by the defendant . . . , to the district court of

the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. ' 1441(a). However, “[i]f at any time before final

judgment it appears that the district court lacks subject matter jurisdiction, the case

shall be remanded.” 28 U.S.C. ' 1447(c). “Subject matter jurisdiction in a federal

court may be based upon federal question jurisdiction or diversity jurisdiction.”

Walker v. Sun Trust Bank of Thomasville, Ga., 363 Fed. Appx. 11, 15 (11th Cir.

2010) (unpublished decision) (citing 28 U.S.C. §§ 1331, 1332). “[I]n removal

cases, the burden is on the party who sought removal to demonstrate that federal

jurisdiction exists.” Kirkland v. Midland Mortgage Co., 243 F.3d 1277, 1281 n.5

(11th Cir. 2001), and “uncertainties are resolved in favor of remand.” Burns v.

Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994).

      “Only state-court actions that originally could have been filed in federal

court may be removed to federal court by the defendant. Absent diversity of

citizenship [pursuant to 28 U.S.C. ' 1332], federal-question jurisdiction [pursuant

to 28 U.S.C. ' 1331] is required.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392




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(1987). Here, it appears Defendant seeks to remove this action on the basis of

federal question jurisdiction. (See Doc. 1-1).

      “The well-pleaded complaint rule has long governed whether a case ‘arises

under’ federal law for purposes of § 1331,” and that rule “governs whether a case

is removable from state to federal court pursuant to 28 U.S.C. § 1441(a) . . . .”

Holmes Group, Inc. v. Vornado Air Circulation Sys., Inc., 535 U.S. 826, 830 and

n.2 (2002). The well-pleaded complaint rule “provides that federal jurisdiction

exists only when a federal question is presented on the face of the plaintiff’s

properly pleaded complaint.” Caterpillar, Inc., 482 U.S. at 392. Furthermore,

defenses or potential defenses, even if they arise under federal laws or the United

States Constitution, are ignored in determining whether a federal question has been

raised by the plaintiff=s complaint. See Ben. Nat’l Bank v. Anderson, 539 U.S. 1, 6

(2003) (“To determine whether the claim arises under federal law, we examine the

‘well pleaded’ allegations of the complaint and ignore potential defenses . . . .”);

Pan Am. Petroleum Corp. v. Superior Court of Del., 366 U.S. 656, 663 (1961) (If

the plaintiff does not raise a federal question in the complaint, “it is no substitute

that the defendant is almost certain to raise a federal defense”); Bd. of Educ. of the

City of Atlanta v. Am. Fed’n of State, County and Mun. Employees, 401 F. Supp.

687, 690 (N.D. Ga. 1975) (“Stated simply, a federal district court’s original federal

question jurisdiction must be posited upon the plaintiff’s pleading of his own case,


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and not by defendant’s response or even plaintiff’s anticipation of a federal

element in that response.”).

      In her Petition for Removal (Doc. 1-1), Defendant asserts that Plaintiff’s

dispossessory action violates federal law, including 15 U.S.C. § 1692 and Federal

Rule of Civil Procedure 60. She has not shown, however, that Plaintiff raised

those claims, or any other federal claim, in the underlying action. Because she has

not shown that the original complaint contains a federal claim, Defendant has not

shown that this Court has subject matter jurisdiction over this action, and thus

removal is improper. The undersigned therefore RECOMMENDS that this action

be REMANDED to the Magistrate Court of DeKalb County.

      The Clerk of the Court is DIRECTED to terminate referral of this action to

the undersigned magistrate judge.

      IT IS SO ORDERED, REPORTED and RECOMMENDED this 27th

day of January, 2014.

                                              /s/ J. CLAY FULLER
                                             J. CLAY FULLER
                                             United States Magistrate Judge




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